       Case 2:09-cr-00206-GEB Document 96 Filed 02/10/16 Page 1 of 3


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5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,            No.   2:09-cr-00206-GEB
9                  Plaintiff,
10         v.                             ORDER DENYING DEFENDANT’S MOTION
                                          FOR REDUCTION OF SENTENCE
11   LEOBARDO OLAZABAL CARRANZA,
12                 Defendant.
13

14              Defendant   Leobardo    Olazabal   Carranza    moves     under   18

15   U.S.C. ' 3582(c)(2) for a reduction of his sentence based upon

16   the   Sentencing   Commission’s    passage    of   Amendment      782,   which

17   generally revised the Drug Quantity Table in U.S.S.G. ' 2D1.1

18   downward by two levels. (Def.’s Mot., ECF No. 89.)

19              The government opposes Defendant’s motion, arguing that

20   “the defendant does not qualify for a sentence reduction.” (Gov’t

21   Opp’n 3:19-20, ECF No. 94.) The government rejoins:

22                   In this case, the defendant’s sentencing
                range has not changed because the Sentencing
23              Commission has no authority to alter a
                statutory mandatory penalty and he was
24              subject to a mandatory minimum of 120 months
                in prison based upon his conviction in Count
25              One   of  the   Indictment.   The  Sentencing
                Commission’s adoption of Amendment 782 only
26              altered the offense levels for drug offenses.
                As discussed below, adoption of Amendment 782
27              did not, and could not, change the statutory
                mandatory   minimum   for   this  defendant’s
28              conviction.
                                      1
       Case 2:09-cr-00206-GEB Document 96 Filed 02/10/16 Page 2 of 3


1                       Where the statutory mandatory penalty
                  was higher than the original guideline range,
2                 the statutory minimum became the guideline
                  sentence. U.S.S.G. § 5G1.1(b) (“Where a
3                 statutorily required minimum sentence is
                  greater than the maximum of the applicable
4                 guideline range, the statutorily required
                  minimum sentence shall be the guideline
5                 sentence.”). No retroactive amendment has
                  altered this provision, and therefore both
6                 the statutory mandatory penalty and the
                  recommended guideline sentence remain exactly
7                 what they were at the time of the original
                  sentencing proceeding. See § 1B1.10(a)(2) (“A
8                 reduction    in   the    defendant’s    term    of
                  imprisonment is not consistent with this
9                 policy    statement    and   therefore    is   not
                  authorized under 18 U.S.C. § 3582(c)(2)
10                if . . . (B)     an     amendment    listed     in
                  subsection (d) does not have the effect of
11                lowering the defendant’s applicable guideline
                  range.”). Where a statutory mandatory minimum
12                sentence    above    the   guideline   range    is
                  applicable, the passage of a retroactive
13                guideline amendment is irrelevant. United
                  States v. Paulk, 569 F.3d 1094, 1095-96 (9th
14                Cir. 2009); United States v. Sykes, 658 F.3d
                  1140,    1147-48    (9th    Cir.   2011).    Thus,
15                defendant’s motion is precluded by Ninth
                  Circuit precedent.
16

17   (Id. at 3:25-4:15.)

18                “As a general matter, courts may not alter a term of

19   imprisonment once it has been imposed.” United States v. Leniear,

20   574   F.3d   668,   673   (9th   Cir.   2009)   (internal   quotation   marks

21   omitted) (quoting United States v. Hicks, 472 F.3d 1167, 1169 (9th

22   Cir. 2007)).

23                However, 18 U.S.C. § 3582(c)(2) creates an
                  exception    to  this    rule   by   allowing
24                modification of a term of imprisonment if:
                  (1) the sentence is “based on a sentencing
25                range that has subsequently been lowered by
                  the Sentencing Commission”; and (2) “such a
26                reduction   is  consistent   with  applicable
                  policy statements issued by the Sentencing
27                Commission.”

28   Id. (emphasis added) (quoting 18 U.S.C. § 3582(c)(2)).
                                             2
       Case 2:09-cr-00206-GEB Document 96 Filed 02/10/16 Page 3 of 3


1               Defendant has not shown that his sentence was based on

2    a sentencing range that has subsequently been lowered by the

3    Sentencing   Commission.     Therefore,        18    U.S.C.      '    3582(c)(2)     is

4    inapplicable    and   cannot    be      used        to   lower        his   sentence.

5    Accordingly,   Defendant’s     motion    for        reduction        of   sentence   is

6    DENIED.

7    Dated:    February 10, 2016

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